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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

   UNITED STATES OF AMERICA

   v.                                              Case No. 8:18-cr-192-T-23CPT

   JESUS MANUEL RODRIGUEZ,
        a/k/a “Caltu,”
   BRYAN GOMEZ NEVAREZ,
   LUIS ENRIQUE HERNANDEZ QUINONES,
        a/k/a “Gordo,”

                              BILL OF PARTICULARS
                                    (Forfeiture)

         The United States of America pursuant to Federal Rule of Criminal

   Procedure 32.2(a), particularly alleges that the following is subject to forfeiture

   on the basis of the allegations set forth in the “Forfeiture” section of the

   Indictment filed in the above-styled criminal case:

                1.         Approximately $35,601.00 U. S. Currency seized
                           from Jesus Manuel Rodriguez;

                2.         Approximately $1,541.00 U. S. Currency seized from
                           Bryan Gomez Nevarez;

                3.         One Royal Sovereign money counter, serial number
                           K1707LA84303 seized from Luis Enrique Hernandez
                           Quinones;

                4.         Miscellaneous firearms and ammunition seized from
                           Jesus Manuel Rodriguez:

                           a. A Glock Model 17 Gen 4 9mm pistol, serial number
                              SEW473;
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                       b. A Century Arms International (Zastava Serbia)
                          PAP M85 NP 5.56mm caliber pistol, serial number
                          M85-NP003817;
                       c. A Mossberg 500 12-gauge shotgun, serial number
                          U014977;
                       d. A Glock Model 17 Gen 4 9mm pistol, serial number
                          BDUV611;
                       e. Two .45 caliber magazines;
                       f. Two AK47 magazines containing approximately 77
                          rounds of ammunition;
                       g. Approximately eight rounds of 12-gauge shotgun
                          shells;
                       h. Approximately 17 rounds of 9mm ammunition;
                       i. Three 9mm magazines containing approximately 45
                          rounds of ammunition;
                       j. 50-round drum magazine with approximately 34
                          rounds of 9mm ammunition; and
                       k. Approximately 92 rounds of rifle and pistol
                          ammunition.

               4.      Miscellaneous firearms and ammunition seized from
                       Bryan Gomez Nevarez:

                       a. A Springfield Armory SA-XD 9mm handgun, serial
                          number XD235043;
                       b. Four magazines with firearm-related parts; and
                       c. Approximately eight rounds of .40 caliber
                          ammunition.

               5.      Miscellaneous firearms and ammunition seized from
                       Luis Enrique Hernandez Quinones:

                       a. A Regent R350CR .45 ACP, serial number
                          13BE01202;
                       b. A Glock 30 .45 caliber handgun, serial number
                          XVF894, with three additional magazines and
                          approximately 59 rounds of .45 caliber ammunition
                       c. A .223 AR-15 (skull wrap) with scope and
                          approximately 30 rounds of ammunition;




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                       d. Approximately 10 rounds of .45 caliber
                          ammunition;
                       e. 13 magazines which hold .223 caliber ammunition
                          for an AR-15, one AR15 stock, one round of 12-
                          gauge ammunition, approximately 17 rounds of
                          .223 ammunition, and miscellaneous firearm-related
                          items seized from a Gray canvass collapsible
                          organizer.
                       f. One round of .223 ammunition;
                       g. One box of approximately 16 rounds of .45
                          ammunition; and
                       h. One box of approximately 100 rounds of 9mm
                          ammunition.


                                          Respectfully Submitted,

                                          MARIA CHAPA LOPEZ
                                          United States Attorney


                                By:       s/James A. Muench
                                          JAMES A. MUENCH
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                               CERTIFICATE OF SERVICE

           I hereby certify that on June 4, 2018, I electronically filed the

    foregoing with the Clerk of the Court by using the CM/ECF system which

    will send a notice of electronic filing to counsel of record.


                                                s/James A. Muench
                                                JAMES A. MUENCH
                                                Assistant United States Attorney




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